              Case:20-01947-jwb        Doc #:444 Filed: 03/05/2021        Page 1 of 10




                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                                Chapter 11
    BARFLY VENTURES, LLC, et al,1                               Case No. 20-01947-jwb
                                                                Hon. James W. Boyd
                      Debtors.                                  Jointly Administered
    ______________________________________/

      NOTICE OF FINAL APPLICATION OF AMHERST CONSULTING, LLC FOR
    COMPENSATION & REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISOR
          TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

      Notice is hereby given that the following professional persons have made application to
the United States Bankruptcy Court for the Western District of Michigan for allowance and
payment of fees and expenses incurred in these bankruptcy cases, as listed below:

    Professional (name and address):                Amherst Consulting, LLC
                                                    255 E. Brown St., Ste. 120
                                                    Birmingham, MI 48009

    Fees requested:                                 $0.00

    Expenses requested:                             $0.00

    Fees and expenses previously allowed by         $53,780 in fees pursuant to the Interim Fee
    Court:                                          Order


PLEASE NOTE: The application is available for public review at the Clerk’s Office, One Division
North, Grand Rapids, Michigan, Monday through Friday, from 8:00 a.m. – 4:00 p.m. No hearing
will be set before the Court unless a written objection to this application is timely filed with the
Clerk of the Bankruptcy Court. If you have any objection, you have 21 days from the date of
service of this notice in which to file such written objection. If an objection is filed, a subsequent
notice will be sent to you of the date, time and location of the hearing on the objection.

1
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).


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          Case:20-01947-jwb   Doc #:444 Filed: 03/05/2021      Page 2 of 10




                  ANY OBJECTION MUST BE TIMELY FILED WITH:

                          United State Bankruptcy Court
                               One Division North
                          Grand Rapids, Michigan 49503

               A COPY OF ANY OBJECTION MUST ALSO BE SENT TO:

                          Jaffe Raitt Heuer & Weiss, P.C.
                                 Attn: Paul R. Hage
                            27777 Franklin, Suite 2500
                            Southfield, Michigan 48034
                                phage@jaffelaw.com


                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.C.

                                     By:    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     Phone: (248) 351-3000
                                     phage@jaffelaw.com

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     Phone: (312) 704-9400
                                     mbrandess@sfgh.com

                                     Counsel to the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC et al.

Dated: March 5, 2021.
                Case:20-01947-jwb          Doc #:444 Filed: 03/05/2021                Page 3 of 10




                           UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                                          Chapter 11
    BARFLY VENTURES, LLC, et al,2                                         Case No. 20-01947-jwb
                                                                          Hon. James W. Boyd
                      Debtors.                                            Jointly Administered
    ______________________________________/

FINAL APPLICATION OF AMHERST CONSULTING, LLC FOR COMPENSATION &
 REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISOR TO THE OFFICIAL
               COMMITTEE OF UNSECURED CREDITORS

             Amherst Consulting, LLC (“Amherst”), financial advisor to the Official Committee of

Unsecured Creditors of Barfly Ventures, LLC (the “Committee”) appointed in the above-captioned

chapter 11 cases, seeks final approval of $53,780 in fees and expenses previously approved and

paid by the Debtors under the Interim Fee Order (as that term is defined below) pursuant to

sections 330 and 331 of the Bankruptcy Code, Rule 2016 of the Federal Rules of Bankruptcy

Procedure, Local Bankruptcy Rule 2016-2 and the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals [Doc. No. 113] (the

“Compensation Order”).3




2
 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(1129),
50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand Rapids Brewing
Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-
Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC
(9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970), HopCat-
Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington,
LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-
Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis,
LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant
Saloon)(4255).
3
 The Bankruptcy Code is set forth in 11 U.S.C. §§ 101 et seq. Specific sections of the Bankruptcy Code are identified
herein as “section __.” Similarly, specific rules from the Federal Rules of Bankruptcy Procedure are identified herein
as “Bankruptcy Rule __” and specific rules from the Local Bankruptcy Rules of the United States Bankruptcy Court
for the Western District of Michigan are identified herein as “Local Bankruptcy Rule __.”
            Case:20-01947-jwb        Doc #:444 Filed: 03/05/2021        Page 4 of 10




       Amherst has not incurred any fees or expenses in these cases other than those fees and

expenses approved in the Interim Fee Order and, therefore, is not seeking approval of any

additional fees or expenses incurred in these cases. Rather, Amherst files this Fee Application

solely to obtain final approval of the fees and expenses previously approved in the Interim Fee

Order. In support of this Fee Application, Amherst states:

                                      Jurisdiction & Venue

       1.        The Court has jurisdiction over this matter under 28 U.S.C. § 1334 and

28 U.S.C. § 157(a). This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this

District under 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief requested in this Fee

Application are sections 330, 331 and 503(b)(2), Bankruptcy Rule 2016 and Local Bankruptcy

Rule 2016-2.

                                           Background

       2.        On June 3, 2020, Barfly Ventures, LLC and its affiliates (collectively, the

“Debtors”) filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The

Debtors continue to manage their remaining assets and financial affairs as debtors in possession.

       3.        The Office of the United States Trustee appointed the Committee on June 23, 2020

[Doc. No. 85].

       4.        The Court entered an order approving Amherst’s employment as financial advisor

for the Committee, retroactive to June 25, 2020, on August 10, 2020 [Doc. No. 232] (the

“Employment Order”).

       5.        On December 30, 2020, the Court entered the Order Approving First Application

of Amherst Consulting, LLC for Compensation & Reimbursement of Expenses as Financial

Advisor to the Official Committee of Unsecured Creditors [Doc. No. 435] (“Interim Fee Order”)
            Case:20-01947-jwb       Doc #:444 Filed: 03/05/2021          Page 5 of 10




wherein it granted Amherst interim compensation in the amount of $53,780 pursuant to section

331 for professional fees and expenses incurred in these cases through October 31, 2020.

       6.      By this Fee Application, Amherst seeks final approval of the fees and expenses

allowed and paid pursuant to the Interim Fee Order. Amherst has not incurred any fees or expenses

in these cases other than those fees and expenses approved in the Interim Fee Order and, therefore,

is not seeking approval of any additional fees or expenses in this Fee Application.

       7.      Amherst submits that the compensation allowed and paid pursuant to the Interim

Fee Order represents a fair and reasonable amount for the services rendered in these cases, given

the criteria set forth in section 330 for evaluating applications for compensation, namely:

            (A) the time spent on such services;
            (B) the rates charged for such services;
            (C) whether the services were necessary to the administration of, or beneficial
       at the time at which the service was rendered toward the completion of, a case under
       this title;
            (D) whether the services were performed within a reasonable amount of time
       commensurate with the complexity, importance, and nature of the problem, issue,
       or task addressed;
            (E) with respect to a professional person, whether the person is board certified
       or otherwise has demonstrated skill and experience in the bankruptcy field; and
            (F) whether the compensation is reasonable based on the customary
       compensation charged by comparably skilled practitioners in cases other than cases
       under this title.

11 U.S.C. § 330(a)(3).

       8.      In compliance with Bankruptcy Rule 2002(a)(6), Local Bankruptcy Rule 2016-

2(c), and the Compensation Order, Amherst will provide notice of this Fee Application through

the Court’s ECF system to: (a) counsel for the Debtors; (b) the Office of the United States Trustee

for the Western District of Michigan; and (c) parties who have filed a notice of appearance with

the Clerk of the Court and requested notice of filings in these cases. Additionally, Amherst will

provide notice of this Fee Application, by electronic mail, to: (i) BarFly Ventures, LLC, c/o Mark
             Case:20-01947-jwb       Doc #:444 Filed: 03/05/2021          Page 6 of 10




A. Sellers, III, 35 Oakes Street, SW, Suite 400, Grand Rapids, Michigan 49503, email:

mark@barflyventures.com; (ii) Pachulski Stang Ziehl & Jones LLP (Attn. John Lucas), 150

California Street, 15th Floor San Francisco, California 94111-4500, email: jlucas@pszjlaw.com;

(iii) Warner Norcross + Judd LLP, 1500 Warner Building, 150 Ottawa Avenue, NW, Grand

Rapids, Michigan 49503 (Attn. Elisabeth M. Von Eitzen), email: evoneitzen@wnj.com; (iv) the

Office of the United States Trustee, 125 Ottawa Street, Suite 200R, Grand Rapids, Michigan 49503

(Attn. Michael Maggio), email: michael.v.maggio@usdoj.gov; (v) Rayman & Knight, 141 E

Michigan Ave # 301, Kalamazoo, Michigan 49007 (Attn: Steve Rayman), email:

slr@raymanknight.com; and (vi) Paul Hastings LLP, 71 South Wacker Drive, Suite 4500,

Chicago, Illinois 60606 (Attn: Nathan S. Gimpel), email: nathangimpel@paulhastings.com.

Amherst submits that, in light of the nature of the relief requested, no other or further notice need

be provided.

       WHEREFORE, Amherst respectfully requests that this Court enter an order substantially

in the form attached as Exhibit A to this Fee Application:

       (a)     Allowing and approving, on a final basis, the fees and expenses allowed and paid

               pursuant to the Interim Fee Order; and

       (b)     Providing Amherst with any additional relief as may be appropriate under the

               circumstances.
          Case:20-01947-jwb   Doc #:444 Filed: 03/05/2021      Page 7 of 10




                                     Respectfully submitted by,

Dated: March 5, 2021                 JAFFE RAIT HEUER & WEISS, P.C.

                                     By:    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     (248) 351-3000
                                     phage@jaffelaw.com

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     (312) 704-9400
                                     mbrandess@sfgh.com

                                     Counsel for the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC
Case:20-01947-jwb   Doc #:444 Filed: 03/05/2021   Page 8 of 10




                          Exhibit A
                      (Proposed Order)
                  Case:20-01947-jwb     Doc #:444 Filed: 03/05/2021        Page 9 of 10




                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                                 Chapter 11
    BARFLY VENTURES, LLC, et al,4                                Case No. 20-01947-jwb
                                                                 Hon. James W. Boyd
                      Debtors.                                   Jointly Administered
    ______________________________________/

     ORDER APPROVING FINAL APPLICATION OF AMHERST CONSULTING, LLC
      FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS FINANCIAL
       ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             This matter having come before the Court on the Final Application of Amherst Consulting,

LLC for Compensation & Reimbursement of Expenses as Financial Advisor to the Official

Committee of Unsecured Creditors (the “Application”)5 filed by Amherst Consulting, LLC

(“Amherst”); notice of the Fee Application being sufficient and consistent with the Compensation

Order; and no objections to the Fee Application having been filed:

             IT IS HEREBY ORDERED:

             1.     The Fee Application is granted.

             2.     The fees and expenses allowed and paid pursuant to the Interim Fee Order are

allowed and approved on a final basis.




4
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).
5
 Capitalized terms not otherwise defined herein shall have the meaning given to them in the Fee
Application.
            Case:20-01947-jwb      Doc #:444 Filed: 03/05/2021       Page 10 of 10




       3.      This Court retains exclusive jurisdiction to resolve any dispute arising from or

related to this Order.

                                      END OF ORDER


Order prepared and submitted by:

JAFFE RAITT HEUER & WEISS, P.C.
Paul R. Hage (P70460)
27777 Franklin, Suite 2500
Southfield, Michigan 48034
Phone: (248) 351-3000
phage@jaffelaw.com

Counsel for the Official Committee of Unsecured
Creditors of Barfly Ventures, LLC et. al.
